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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


FEDERAL NATIONAL MORTGAGE
ASSOCIATION, a corporation existing under
the laws of the United States,

             Plaintiff,
                                                   Case No. 2:10-cv-10381
v.                                                 Hon. Stephen J. Murphy, III
                                                   Magistrate Judge R. Steven Whalen
MAPLETREE INVESTORS LIMITED
PARTNERSHIP, a Michigan limited
partnership,

            Defendant.
_______________________________________/

BODMAN LLP                                  FRANK, HARON, WEINER AND
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Attorneys for Plaintiff Federal National    Attorneys for Defendant Mapletree Investors
Mortgage Association                        Limited Partnership
_______________________________________/



     PLAINTIFF’S RENEWED MOTION FOR AN ORDER TO SHOW CAUSE, FOR
     APPOINTMENT OF A RECEIVER, AND FOR A PRELIMINARY INJUNCTION


                          REQUEST FOR IMMEDIATE CONSIDERATION




February 22, 2010



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       Plaintiff Federal National Mortgage Association (“Fannie Mae”), by its attorneys

Bodman LLP, under Rule 65, Fed.R.Civ.P., moves for an order to show cause, for a preliminary

injunction, and for the appointment of a receiver to operate a multi-family real estate project

located in the City of Southfield, Oakland County, Michigan. Fannie Mae also requests

immediate consideration of this motion. In support of this motion, Fannie Mae states as follows:


       1.      Fannie Mae has a mortgage on a multi-family real estate project (“Mortgage”)

located in the City of Southfield, Oakland County, Michigan commonly known as the Mapletree

Apartments (“Mortgaged Property”). A copy of the Mortgage is attached as Exhibit B to the

brief accompanying this motion.


       2.      Mapletree Investors Limited Partnership (“Mapletree”) admits that it executed the

Mortgage. See, Docket Entry No. (“Doc. No.”) 7, ¶9.


       3.      The Mortgage secures a certain Multifamily Note (“Note”) in which defendant

Mapletree Investors Limited Partnership (“Mapletree”) agreed to pay Fannie Mae (the

mortgagee, by assignment) $7,704,940.00 (plus interest) in consecutive monthly installments of

$53,531.53 beginning on September 1, 1999 until the entire indebtedness evidenced by the Note

(“Indebtedness”) was fully paid on August 1, 2009, the “Maturity Date”. A copy of the Note is

attached as Exhibit A to the brief accompanying this motion.


       4.      Defendant Mapletree admits that it executed the Note. See, Doc. No. 7, ¶8.


       5.      As demonstrated more fully in the accompanying brief and Fannie Mae’s verified

complaint, the Mortgage contains an assignment of rents and revenues provision under which

defendant Mapletree, among other things, “absolutely and unconditionally” assigned its interest


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in all rents and leases from and concerning the Mortgaged Property, together with all income and

revenues due and becoming due therefrom, to the mortgagee (Fannie Mae) as additional security

for defendant Mapletree’s performance of its obligations under the Note and the Mortgage. See,

Exhibit B, pp. 7-11.


       6.      As demonstrated more fully in the accompanying brief and in Fannie Mae’s

verified complaint (which is incorporated herein by reference), defendant Mapletree is in default

of its obligations to Fannie Mae under the Note.


       7.      In particular, defendant Mapletree has failed and refused to repay the balance of

the Note on the August 1, 2009 Maturity Date.


       8.      Defendant Mapletree’s answer admits that “such payments have not been made.”

See, Doc. No. 7, ¶14.


       9.      As a consequence of defendant Mapletree’s default, Fannie Mae made demand on

defendant Mapletree on December 7, 2009 for payment of the Indebtedness. A copy of Fannie

Mae’s demand letter is attached as Exhibit D to the brief accompanying this motion.


       10.     Due to defendant Mapletree’s default, Fannie Mae has or will start the process of

foreclosure by advertisement of the Mortgaged Property.


       11.     As demonstrated more fully in Fannie Mae’s verified complaint and the brief

accompanying this motion, defendant Mapletree consented in the Mortgage to the appointment

of a receiver for the Mortgaged Property in the event of default of the Note. See, Exhibit B, p. 8.




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       12.     As required by E.D. Mich. LR 7.1, Fannie Mae’s counsel sought defendant

Mapletree’s concurrence in the relief requested in this motion. Concurrence was denied.


       13.     Fannie Mae requests immediate consideration of this motion. Fannie Mae filed

its complaint on January 28, 2010. Defendant Mapletree has answered the complaint admitting

that it is in default of the Mortgage. Nevertheless, defendant Mapletree continues to remain in

control of the Mortgaged Property and to collect all rents in direct violation of the Mortgage.


       WHEREFORE, for the reasons stated more fully in the accompanying brief, Fannie Mae

respectfully requests the following relief from this Honorable Court:


               (a)     A preliminary injunction against defendant Mapletree and its agents and
                       employees (as well as any other persons with knowledge of this Court’s
                       order) barring them from transferring, expending, distributing, concealing,
                       destroying, damaging or otherwise diminishing the Mortgaged Property or
                       any part thereof or any personal property on which Fannie Mae has a lien,
                       or any proceeds of the same, including rents, profits, and revenues, until a
                       receiver is appointed and/or until Fannie Mae forecloses and receives
                       possession of the Mortgaged Property;

               (b)     An order appointing Dover Realty Advisors, LLC as the receiver of the
                       Mortgaged Property during the pendency of this action and Fannie Mae’s
                       foreclosure and any redemption period, to collect rents, pay insurance
                       premiums, pay utilities and perform any other obligations necessary with
                       respect to the Mortgaged Property with the fees and expenses of such
                       receiver to be paid from the rents and revenues derived from the
                       Mortgaged Property;

               (c)     An order requiring all persons who have possession or control of the
                       Mortgaged Property (other than tenants) to yield and deliver possession of
                       same to the receiver appointed by this Court; and

               (d)     Such other and further relief as this Court deems proper.




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A copy of a proposed order is attached as Exhibit F to the brief accompanying this motion.


                                            Respectfully submitted,

                                            BODMAN LLP


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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


FEDERAL NATIONAL MORTGAGE
ASSOCIATION, a corporation existing under
the laws of the United States,

             Plaintiff,                            Case No. 2:10-cv-10381
                                                   Hon. Stephen J. Murphy, III
v.                                                 Magistrate Judge R. Steven Whalen

MAPLETREE INVESTORS LIMITED
PARTNERSHIP, a Michigan limited
partnership,

            Defendant.
_______________________________________/

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_______________________________________/




     BRIEF IN SUPPORT OF PLAINTIFF’S RENEWED MOTION FOR AN ORDER
             TO SHOW CAUSE, FOR APPOINTMENT OF A RECEIVER,
                   AND FOR A PRELIMINARY INJUNCTION




February 22, 2010



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                                          INTRODUCTION

        Plaintiff Federal National Mortgage Association (“Fannie Mae”) moves for the

appointment of a receiver to operate a multi-family residential real estate project located in the

City of Southfield, Oakland County, Michigan, known as the Mapletree Apartments on which

Fannie Mae has a mortgage (“Mortgaged Property”). The owner of the Mortgaged Property,

defendant Mapletree Investors Limited Partnership (“Mapletree”), unequivocably consented to

the appointment of a receiver for the Mortgaged Property in the event of a default of the Loan

Documents described below.


        As demonstrated below and in Fannie Mae’s verified complaint, defendant Mapletree is

in default of its obligations to Fannie Mae. In particular, the Note matured on August 1, 2009

and defendant Mapletree has not repaid it. Defendant Mapletree’s default provides ample

support under the Loan Documents described in this brief and under Michigan and federal law

for the appointment of a receiver over the Mortgaged Property. Fannie Mae also requests that

this Court issue a preliminary injunction to protect Fannie Mae’s interest in the Mortgaged

Property, including its unequivocal right to receive the income and revenue from that property,

pending further order of this Court.


                                     STATEMENT OF FACTS1

A.      The Loan Documents.

        On July 20, 1999, defendant Mapletree, as borrower, entered into a certain Multifamily

Note (“Note”) to the order of non-party Eichler, Fayne & Associates (“EF&A”), as lender. See,

Exhibit A. In the Note, defendant Mapletree promised to pay to EF&A $7,704,940, plus interest

1 The factual statements in this brief are also contained in Fannie Mae’s verified complaint and are
incorporated herein by reference.


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(as described in the Note), in consecutive monthly installments of principal and interest of

$53,531.53 beginning on September 1, 1999 until the entire unpaid principal balance evidenced

by the Note (“Indebtedness”) was fully paid on the August 1, 2009, the “Maturity Date.” Id., p.

1.


       Repayment of the Note is secured by a Multifamily Mortgage (“Mortgage”), dated as of

July 30, 1999, covering the Mortgaged Property. See, Exhibit B. The Mortgage includes an

assignment of rents and leases provision under which defendant Mapletree, among other things,

absolutely and unconditionally assigned its interest in all rents and leases concerning the

Mortgaged Property, together with all income and revenues due and becoming due therefrom, to

EF&A as additional security for the performance of defendant Mapletree’s obligations under the

Note and the Mortgage. See, Exhibit B, pp. 7-11.


B.     Assignment Of The Loan Documents To Fannie Mae.

       On July 30, 1999, EF&A assigned all of its right, title, and interest in the Note and the

Mortgage to Fannie Mae. See, Exhibit C. As such, Fannie Mae is now the obligee under the

Note and the mortgagee under the Mortgage.


C.     Defendant Mapletree’s Default.

       Defendant Mapletree was obligated to repay the balance of the Note on the August 1,

2009 Maturity Date. See, Exhibit A, p. 1. Any failure by defendant Mapletree to pay any

amount required by the Note is an “Event of Default” under both the Note and the Mortgage.

See, Exhibit A, p. 2, and Exhibit B, p. 28. Defendant Mapletree is in default of the Note and the

Mortgage because, among other reasons, its failure and refusal to pay the balance of the Note on

the August 1, 2009 Maturity Date.

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       Upon any event of default, Fannie Mae may, among other things, declare the Note in

default, apply for the appointment of a receiver (without notice and without regard to defendant

Mapletree’s solvency) and/or enforce its interest in the leases and rents from the Mortgaged

Property.


       On December 7, 2009, Fannie Mae demanded payment in full of all of defendant

Mapletree’s liabilities to Fannie Mae under the Note, including principal, interest, and late fees.

See, Exhibit D. Interest and late fees continue to accrue. Fannie Mae also advised defendant

Mapletree that its license to collect rents had terminated and that Fannie Mae was entitled to all

rents as they became due and payable. Id. Defendant Mapletree has failed and refused to

comply with Fannie Mae’s demands.


       As a consequence of defendant Mapletree’s default, Fannie Mae has started the process

of foreclosure by advertisement of the Mortgaged Property. The relief requested in Fannie

Mae’s motion is, among other things, in aid of the foreclosure as well as Fannie Mae’s rights (as

described above) under the Note and Mortgage.


       Defendant Mapletree has answered Fannie Mae’s verified complaint. See, Docket Entry

No. 7. Defendant Mapletree does not dispute that it is in default.


                                          ARGUMENT

A.     A Receiver Should Be Appointed Over The Mortgaged Property.

       1.      The Loan Documents authorize the appointment of a receiver.

       Upon an event of default (which includes the failure to pay any portion of defendant

Mapletree’s Indebtedness to Fannie Mae as and when due), the Note and the Mortgage each



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provide Fannie Mae with numerous non-exclusive remedies to protect its interests. Fannie Mae

may, among other things, declare the Note in default (which it has done), apply for the

appointment of a receiver (without notice and without regard to defendant Mapletree’s

solvency), and/or enforce Fannie Mae’s interest in the leases and rents from the Mortgaged

Property.


        Under the Mortgage, defendant Mapletree expressly consented to the appointment of a

receiver upon an Event of Default. In particular, Section 3(d) of the Mortgage states, in relevant

part, that:

               “* * * if an Event of Default has occurred and is continuing,
               regardless of the adequacy of [Fannie Mae’s] security, without
               regard to Borrower’s solvency and without the necessity of giving
               prior notice (oral or written) to Borrower, [Fannie Mae] may apply
               to any court having jurisdiction for the appointment of a receiver
               for the Mortgaged Property to take any or all of the actions set
               forth in the preceding sentence. If [Fannie Mae] elects to seek the
               appointment of a receiver for the Mortgaged Property at any time
               after an Event of Default has occurred and is continuing,
               Borrower, by its execution of this Instrument, expressly
               consents to the appointment of such receiver, including the
               appointment of a receiver ex parte if permitted by applicable
               law.” See, Exhibit B, p. 8; emphasis added.

        As demonstrated above, defendant Mapletree is clearly in default of the Note and the

Mortgage by failing to repay the balance of the Note on the August 1, 2009 Maturity Date. In

similar cases, courts have not hesitated to appoint receivers to protect a mortgagee’s interest in

real estate and the income therefrom. As the court stated in Citibank, N.A. v. Nyland Limited, et

al, 839 F.2d 93, 97-98 (2nd Cir. 1988): “It is entirely appropriate for a mortgage holder to seek

the appointment of a receiver where the mortgage authorizes such appointment, and the

mortgagee has repeatedly defaulted on conditions of the mortgage which constitute one or more

events of default.” Emphasis added.

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          2.     Applicable law authorizes the appointment of a receiver.

          Even without the language in the Loan Documents where defendant Mapletree consented

to the appointment of a receiver, this Court has broad equitable powers to appoint a receiver in

circumstances like those present in this case. See, Resolution Trust Corporation v. Fountain

Circle Associates Limited Partnership, 799 F. Supp. 48, 50 (N.D. Ohio 1992); Smith v. Mutual

Benefit Life Insurance Co., 362 Mich. 114, 125 (1960).


          Under Michigan law, courts “may appoint receivers in all cases pending where

appointment is allowed by law.” M.C.L.A. §600.2926. The phrase “allowed by law” means:

“(1) those cases where appointment of a receiver is provided for by statute and (2) those cases

where the facts and circumstances render the appointment of a receiver an appropriate exercise

of the * * * court’s equitable jurisdiction.” Band v. Livonia Associates, 176 Mich. App. 95, 105

(1989).


          The Michigan Supreme Court has held that in the case of a commercial mortgage, a

receiver may be appointed to collect rents due under an assignment of rents clause. Smith, 362

Mich. at 123. In Smith, plaintiffs defaulted on the mortgage and defendant insurance company

foreclosed on the property. Id., p. 118. Defendant sought the appointment of a receiver to

collect rents on commercial real estate and to account for the amount still owed under the

mortgage. Id., p. 119. The mortgage note contained an assignment of rents provision. Id., p.

118. The Court noted that “[i]t may be necessary in a given case to have the aid of the court, by

appointment of receiver, to make collections.” Id., p. 123. The Court found that the trial court

had the authority under the assignment of rents clause to appoint a receiver. Id., p. 125.




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       Receivers are commonly appointed in situations involving a secured creditor with an

interest in real property who is in the process of foreclosing on a mortgage and/or the creditor

needs assistance collecting rent from and otherwise protecting mortgaged properties from waste

and neglect. See, e.g., Resolution Trust Corporation v. Bayside Developers, 43 F.3d 1230, 1242

(9th Cir. 1995) (receiver properly appointed where secured creditor sought receiver to “conserve

and manage” property); Citibank, N.A. v. Nyland Limited, 839 F.2d at 97-98; Federal Home

Loan Mortgage Corporation v. Tsinos, 854 F. Supp. 113, 116 (E.D. N.Y. 1994); Resolution

Trust Corp v. Fountain Circle Associates, 799 F. Supp. 48, 52 (N.D. Ohio 1992) (receiver

appointed to collect rents pending foreclosure).


       As the court held in Brill & Harrington Investments v. Vernon Savings & Loan

Associates, 787 F. Supp. 250, 253-254 (D.D.C. 1992): “Creditors with a security interest in real

property have a well-established interest in the property sufficient to support the appointment of

a receiver.” See, also, New York Life Ins. Co. v. Watt West Inv. Corp., 755 F. Supp. 287, 292-

293 (E.D. Cal. 1991). Indeed, appointing a receiver to manage commercial real estate during a

foreclosure action – which is exactly what Fannie Mae requests in this case – has been found to

be an appropriate and not a drastic remedy. United States v. Berk & Berk, 767 F. Supp. 593, 598

(D. N.J. 1991).


       Here, Fannie Mae is entitled to a receiver over the Mortgaged Property. Fannie Mae has a

very valuable interest in the Mortgaged Property and the income generated by that property.

Those valuable interests need to be protected pending the foreclosure proceeding of the

Mortgaged Property. Defendant Mapletree’s defaults of the Loan Documents are substantial and

egregious, and evidence a deliberate attempt to deprive Fannie Mae of not only what belongs to


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Fannie Mae (that is, the income from the Mortgaged Property) but for which defendant

Mapletree is contractually bound to turn over to Fannie Mae.


        Defendant Mapletree’s defaults demonstrate an inability or refusal to pay the debt

evidenced by the Note and a disregard for the terms of the other Loan Documents. Indeed, even

though the Loan Documents provide that upon an event of default defendant Mapletree’s license

to receive and apply income was automatically revoked, defendant Mapletree has continued to

take all income from the Mortgaged Property. Consequently, it is necessary for this Court to

appoint a receiver to avoid irreparable harm and waste to the Mortgaged Property and Fannie

Mae’s interest in that property.


        Furthermore, the Mortgaged Property is a multi-family housing facility. Given defendant

Mapletree’s defaults, Fannie Mae is justifiably concerned that the Mortgaged Property is not

being adequately managed and maintained by defendant Mapletree which failure places the

health and welfare of the tenants of the Mortgaged Property in jeopardy.


        3.      Dover Realty Advisors, LLC is well qualified to act as receiver.

        The attached summary of qualifications of Dover Realty Advisors, LLC (“Dover”)

demonstrates that based on its experience and training (especially in connection with similar real

estate projects (including many in Michigan) Dover is well qualified to manage, maintain, and

properly apply the income from the Mortgaged Property. See, Exhibit E. Fannie Mae requests

that Dover be appointed receiver of the Mortgaged Property. A proposed order appointing

receiver is attached to this brief as Exhibit F.




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B.      An Injunction Is Necessary To Protect The Mortgaged Property.

        This Court is to consider four facts in deciding whether it should issue a preliminary

injunction. Those factors are: (1) the plaintiff’s likelihood of success on the merits; (2) whether

the plaintiff will suffer irreparable harm without the injunction; (3) the balance of the hardships

to the defendant and the plaintiff; and (4) the impact of the injunction on the public interest. See,

Golden v. Kelsey-Hayes Co., 73 F.3d 648 (6th Cir. 1996).


        Those factors weigh decidedly in Fannie Mae’s favor. Therefore, Fannie Mae’s motion

for a preliminary injunction should be granted.


        1.      Fannie Mae is likely to succeed on the merits. Defendant Mapletree has

demonstrated an unwillingness and/or inability to meet its obligations under the Note and the

Mortgage. As demonstrated above and in Fannie Mae’s verified complaint in this action,

defendant Mapletree is clearly in breach of those agreements by its failure to repay the balance of

the Note on the August 1, 2009 Maturity Date. Furthermore, under the Note and the Mortgage,

defendant Mapletree agreed that its right to collect rents and income generated by the Mortgaged

Property ended and that such rents and income would be turned over to Fannie Mae. Defendant

Mapletree has failed to honor that obligation. Accordingly, Fannie Mae is likely to succeed on

the merits of its claims in this case.


        2.      Fannie Mae Will Suffer Irreparable Harm Without An Injunction. Fannie

Mae will suffer immediate and irreparable injury to its interests in the Mortgaged Property and

the income generated therefrom without the entry of a preliminary injunction. Fannie Mae is in

jeopardy of losing its ability to ensure that it is repaid for money loaned to defendant Mapletree.

Given defendant Mapletree’s present financial condition and its obvious unwillingness or

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inability to meet its obligations to Fannie Mae under the Note and Mortgage, Fannie Mae will

suffer irreparable injury absent injunctive relief. An injunction is necessary to prevent defendant

Mapletree from diverting or spending revenue from the Mortgaged Property and thus dissipating

Fannie Mae’s collateral.


        Moreover, injunctive relief is necessary to prevent damage and waste to the Mortgaged

Property. “[S]ince land is considered to be unique, its loss or threatened loss is considered to be

irreparable injury.” Roghan v. Block, 590 F. Supp. 150 (W.D. Mich. 1984). Accordingly,

because Mortgaged Property is unique and the threatened harm to that property is imminent,

injunctive relief is in order.


        3.      Defendant Mapletree will not be harmed by an injunction. Granting the

injunction will not cause any harm to defendant Mapletree. Due to its numerous defaults (which

cannot be disputed), defendant Mapletree no longer has the right to manage the Mortgaged

Property. Moreover, defendant Mapletree’s license to receive and apply income from the

Mortgaged Property automatically ended upon its default of the Note and the Mortgage.

Consequently, defendant Mapletree will not be harmed by the relief requested in this motion.


        4.      The public interest is served by issuance of the injunction. The public interest

is served by compelling parties to honor their agreements. There is no public interest served in

allowing defendant Mapletree to default and further avoid its contractual obligations.

Furthermore, the interests of the tenants who reside at the Mortgaged Property will be served by

the injunctive relief requested as well as the appointment of a receiver.




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                                         CONCLUSION

       For the reasons stated above and in Fannie Mae’s verified complaint and accompanying

motion, a receiver should be appointed to manage the Mortgaged Property and to collect the

revenue and apply the proceeds to the maintenance of the Mortgaged Property, payment of

utilities and taxes and to apply the remainder, if any, of the proceeds to payment of interest due

on defendant Mapletree’s indebtedness to Fannie Mae and any deficiency after a mortgage

foreclosure sale. In addition, a preliminary injunction should be issued.


                                                 Respectfully submitted,

                                                 BODMAN LLP


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Detroit, Michigan




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                                   CERTIFICATE OF SERVICE

       I certify that I electronically filed the foregoing document using the ECF System and that
such papers were served by ECF upon all attorneys of record.


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February 22, 2010




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